  Case 5:13-cr-00025-MFU-JGW           Document 344       Filed 01/09/15     Page 1 of 1
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                                                          Case N o.5:8 ct00025-8


ASH TON GM CE KERN ,
     D efendant.
                                                         By:      M ichaelF.U tbanski
                                                                  United StatesDistrictJudge



       ThecouttteferredtlaiscasetoUrtitedStatesMagistrateJudgeJamesG.W elsh forconduct
ofa plea hearing and plea colloquy underRule 11 ofthe FederalRules ofCtim inalProcedute

pursuantto28U.S.C.j6369$(3).Themagistratejudgeflledatepottandrecommendationon
D ecem ber 12,2014,recom m ending thatdefendant'splea ofguilty to CountO ne ofthe Third

SupersedingIndictmentbeaccepted.Noobjecdonswereflledbyeitlaerpartytotherepottand
recom m cndation,and thc couztisofthe opinion thatthe reportand recom m endadon should be

adopted in its entirety.Accotdingly,itisO RD E RED thatsaid repottand the fm dingsand

recom m endation contained therein are hezeby AC CE PTE D IN W H O LE ,defendant'spleaof

guilty to Count1oftheThird Superseding Indictm entand plea agreem entareA CCE PT ED ,and

thedefendantisadjudgedGUILTY ofCount1oftheIndictment.
       Itisso O RD ER ED .

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